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 12
 13                       UNITED STATES DISTRICT COURT
 14                     CENTRAL DISTRICT OF CALIFORNIA
 15
      ALS SCAN, INC., a Maryland                  Case No.: 2:16-cv-05051-GW-AFM
 16   corporation,                                PLAINTIFF’S MEMORANDUM OF
 17                                               POINTS AND AUTHORITIES IN
                  Plaintiff,                      SUPPORT OF ITS MOTION FOR
 18                                               PARTIAL SUMMARY JUDGMENT
                                                  AGAINST DEFENDANT
 19      vs.                                      CLOUDFLARE, INC.
 20                                               Filed Concurrently: Notice; Spillane
      CLOUDFLARE, INC., a Delaware
 21   corporation, et al.,                        Declaration; Easton Declaration; Penn
                                                  Declaration; Statement of Undisputed
 22
                   Defendants.                    Issues; Notice of Manual Filing
 23
 24                                               Date: March 5, 2018
                                                  Time: 8:30 a.m.
 25                                               Place: Courtroom 9D
 26                                                      350 W. 1st Street
                                                         Los Angeles, CA
 27
 28


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  1                                SUMMARY OF MOTION
  2         The evidence is undisputed. Cloudflare materially assists website
  3   operators in reproduction, distribution and display of copyrighted works,
  4   including infringing copies of ALS works. Cloudflare also masks information
  5   about pirate sites and their hosts.
  6         Cloudflare has no available safe harbors. Even if any safe harbors apply,
  7   Cloudflare has lost such safe harbors for failure to adopt and reasonably
  8   implement a policy including termination of repeat infringers.
  9         ALS hereby moves for partial summary judgment on liability for
 10   contributory copyright infringement. If the Court grants the motion, trial would
 11   remain to establish damages.
 12                                 UNDISPUTED FACTS
 13         A.     ALS’s Content, Infringement and the Sites at Issue.
 14         ALS owns the copyright to a library of adult content. ALS’s content is
 15   displayed on two websites, alsscan.com and alsangels.com. Other than limited
 16   “teaser” selections of ALS works on public tour pages for these sites, or made
 17   available to advertisers for the purpose of directing Internet traffic to ALS’s
 18   sites, ALS’s content is lawfully available only to paying members of ALS’s
 19   sites. ALS does not sell or license its copyrighted content. [Walsh Decl. ¶¶ 2-
 20   4; Complaint Ex. 1.]
 21         ALS has been faced with the repeated availability of infringing ALS
 22   content on Internet sites. [Walsh Decl. ¶¶ 5-12; Penn Decl. passim; Easton
 23   Decl. passim; Notice of Manual Filing.] This motion involves infringement of
 24   ALS works on the following sites, all Cloudflare customers: artofx.org,
 25   bestofsexpics.com, cumonmy.com, fboom.me, greenpiccs.com,
 26   imagetwist.com, imgchili.net, imgflash.net, imgsen.se, imgspice.com,
 27   imgspot.org, imgtrex.com, img.yt, namethatpornstar.com, slimpics.com,
 28   stooorage.com and vipergirls.to (collectively the “Cloudflare Customer Sites”).

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  1   [Walsh Decl. ¶¶ 5-12; Penn Decl. passim; Easton Decl. passim; Notice of
  2   Manual Filing; Cloudflare Response to Interrogatory No. 20, Spillane Decl. ¶ 2,
  3   Ex. A.]
  4           Cloudflare may say that the Cloudflare Customer Sites are themselves
  5   service providers entitled to DMCA protections, however, none have qualified
  6   for safe harbors by submitting the required notices to the US Copyright Office.
  7   [Spillane Decl. ¶ 14.]
  8           B.    Cloudflare’s Services.
  9           “Cloudflare provides internet services to optimize and protect websites,
 10   including by increasing the speed at which website content is delivered to end
 11   users, making such delivery considerably more bandwidth efficient, and by
 12   adding security services to prevent malicious attacks.” (3/2/17 Guinn Decl.,
 13   Doc. 124-2 ¶ 3.) Says Cloudflare: “Cloudflare’s global Anycast network of 119
 14   data centers across 58 countries reduces latency and time to first byte by
 15   delivering content closer to visitors. Cloudflare’s size and distribution of
 16   internet connects gives customers fast, reliable delivery throughout the world.”
 17   [Spillane Decl. ¶ 3, Ex. B; https://www.cloudflare.com/performance/.]
 18           To accomplish these results, CloudFlare offers, among other services, a
 19   managed domain name system (“DNS”) and a content delivery network
 20   (“CDN”). (3/2/17 Guinn Decl., Doc. 124-2, passim.)
 21           C.    Cloudflare’s DNS Service Deprives Copyright Owners of Vital
 22                 Information.
 23           To become a Cloudflare client, Cloudflare requires the client to name two
 24   Cloudflare nameservers as the authoritative nameservers for their website
 25   domain.1 (3/2/17 Guinn Decl. ¶ 7, Doc. 124-2; 4/5/17 Guinn Depo. 13:14-
 26
 27
 28
      1
          “Nameservers convert the text-based Uniform Resource Locator
                                              -2-
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  1   14:22, Ex. 1.) 2 “This service is why an IP address WHOIS lookup regarding a
  2   website operated by a Cloudflare customer traces to Cloudflare -- because the
  3   customer has designated Cloudflare as its domain nameserver.” (3/2/17 Guinn
  4   Decl. ¶ 7, Doc. 124-2.)
  5
              Q      … [W]hy does Cloudflare have customers designate two
  6           Cloudflare nameservers?
  7           A· ·Cloudflare has customers designate Cloudflare nameservers in
              order to route Internet requests to Cloudflare so that [its]3 service
  8           can operate.
  9           Q· ·And what does that enable Cloudflare to do?
 10           A· ·It enables Cloudflare to direct website visitors to Cloudflare
              servers.
 11
      (4/5/17 Guinn Depo. 14:23-15:5.)
 12
              Cloudflare’s DNS system frustrates efforts by copyright owners to find
 13
      information about direct and contributory infringers and to send notification of
 14
      infringement. Says Cloudflare: “Cloud Flare will mask your IP.” (Spillane
 15
      Decl. ¶ 7, Ex. F, Cloudflare 142.) When copyright owners look for information
 16
      about Cloudflare customers on standard whois lookup services, no information
 17
      is available regarding the company storing the site on its server (the “host”) or
 18
      the site owner. No information is available concerning the IP address for the
 19
 20
 21   (“URL”) of a website into a computer-readable address to point users and
 22   internet browsers in the direction of content stored elsewhere. Stated another
      way, nameservers give directions by telling a user’s personal computer where to
 23   look to find the website the user is searching for.” (3/2/17 Guinn Decl.¶ 6, Doc
 24   124-2.)
 25   2
        The pages and exhibits from the Guinn Deposition, plus errata and signature
 26   sheets, are attached to the Spillane Declaration as Exhibits C (4/5/17), D
      (9/15/17) and E (1/22/18).
 27
 28
      3
          Corrections from the deposition errata sheet are incorporated in brackets.

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  1   site in question. The only available information regarding nameservers and IP
  2   is for Cloudflare. [Penn Decl. ¶¶ 25-30, Exs. 18-23; Easton Decl. ¶¶ 15-16.]
  3         Two sites at issue show the problem. imagebam.com and
  4   namethatpornstar.com weren’t previously Cloudflare customers, which is how
  5   ALS discovered, provided notice to and ultimately sued their respective hosts,
  6   Steadfast and former defendant Hivelocity. Now that both sites have moved to
  7   Cloudflare, ALS can no longer see site owner or host information for those sites
  8   on whois lookups. [Penn Decl. ¶¶ 29, 30, Exs. 20-23.]
  9         While Cloudflare will in some cases respond to an infringement notice
 10   with the name of, and an email contact for, the site host, it does not disclose the
 11   IP address for the infringing website, which web hosts want in order to locate
 12   the site, nor does Cloudflare disclose any information concern the site owner or
 13   operator. [Easton Decl. ¶¶ 15-16; Spillane Decl. ¶¶ 8-9, Ex. G.]
 14         D.     Cloudflare’s CDN Reproduces, Distributes and Displays
 15                Copyrighted Works.
 16         Cloudflare’s CDN, its “Global Anycast Network,” as of March 2017
 17   comprised 102 data centers throughout the world. (3/9/17 Spillane Decl., ¶ 7,
 18   Ex. E, Cloudflare 133, Doc. 133; 4/5/17 Guinn Depo. 19:12-21:9, Ex. 4.) “The
 19   Cloudflare . . . Global Anycast network contains caching servers 4 as well as
 20   nameservers.” (4/5/17 Guinn Depo. 16:2-5.)
 21
 22
 23   4
        “Caching servers are servers that temporarily cache content, typically for a
      few hours before being cleared (also known as ‘evicted’) in order to improve
 24   the time it takes for website content from the host server to reach the end users
 25   in a particular geographic area. The more geographically distant an end user is
 26   from a server, the longer it takes for content from that server to reach that end
      user. A caching server that is located nearer to the end user than the host server
 27   shortens the physical distance that the host’s content must travel, and therefore
 28   also shortens the time it takes for the content to load in an end user’s browser.”
      (3/2/17 Guinn Decl. ¶ 6, Doc. 124-2; see also 4/5/17 Guinn Depo. 90:25-91:11.)
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   1         “A content delivery network (CDN) takes your static content and stores a
   2   copy closer to your visitors.” (3/9/17 Spillane Decl. ¶ 8, Ex. F, Doc. 133.)
   3   “When an end user chooses to visit a Cloudflare customer’s website, the user is
   4   routed through the Cloudflare caching server closest to that end user’s
   5   computer. See Ex. B (Cloudflare Support > Getting Started > Cloudflare 101 >
   6   Step 1).” (3/2/17 Guinn Decl. ¶ 8, Ex. B, Doc 124-2; Penn Decl. ¶ 24, 4/20/17
   7   Penn Decl. Doc. 170; 4/20/17 Spillane Decl. Doc 171.)
   8         The ALS images in question in this suit are .jpg static files. (3/9/17 Penn
   9   Decl. ¶ 4, Doc. 134.) “Cloudflare’s CDN caches [.jpg files] for all account
 10    types by default.” (4/5/17 Guinn Depo. 21:23-24:9 Ex. 5.)
 11
             Q      … [I]s there . . . a step after [a query reaches a
 12          Cloudflare DNS server] which the DNS server employs to send
 13          the visitor to the nearest Cloudflare caching server, provided
             that the user’s seeking to access something that is cached?
 14          Ms. Kassabian: Objection. Vague
 15          A· ·Yes.
 16          Q· ·Please explain how that works.
             A· ·So when a visitor visits a website, they first do a DNS lookup.
 17          It’s similar to looking up someone’s phone number in the phone
 18          book. . . . The DNS server responds with an IP address of the web
             server, and in that instance, the second request which is similar to
 19          making the phone call after doing a lookup in the phone book is
 20          the request to a Cloudflare caching server.
             Q· ·So . . . in this process, the Cloudflare DNS server will direct
 21
             the user to the nearest Cloudflare caching server?
 22          A· ·Yes.
 23          Q· ·And . . . that’s the nearest Cloudflare caching server within
             the Cloudflare global AnyCast network?
 24          A· ·Correct.
 25    (4/5/17 Guinn Depo. 17:1-18:1; see also 4/5/17 Guinn Depo. 28:9-13..)
 26
             Q: [S]ay I'm sitting at my computer in Los Angeles, and I put
 27
             into the browser bar a URL imgchili.net, slash, whatever
 28

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   1          ending in .jpg.· Okay?· Now, if I then hit enter, where do I first
              go?
   2          MS. KASSABIAN:· Objection.· Incomplete hypothetical.
   3          You can answer.
              THE WITNESS:· What will happen is you will do a DNS lookup.·
   4          That DNS response will come from a DNS server in the region,
   5          very likely in Los Angeles. The -- then you make an H[T]TP
   6          request for that -- that URL which ends in .jpg, potentially to the
              Los Angeles data center.· If that file is in the cache, we can deliver
   7          it from our temporary cache, and if the file is not in cache, we
   8          would proxy the request through to the web server and take a copy
              of the file from the web server and deliver it to the web browser.
   9
       (4/5/17 Guinn Depo. 25:10-26:2.) When a copy of a requested image is proxied
 10
       from the origin server, the delivery path is from the origin server, through the
 11
       Cloudflare caching server then to the consumer. (4/5/17 Guinn Depo. 29:9-24.)
 12
              When a consumer requests an image on a Cloudflare client site, whether
 13
       the image is in cache or is proxied from the origin server, Cloudflare distributes
 14
       a copy of the requested content to the consumer’s computer, where it would
 15
       reside in the consumer’s hard drive or RAM. The data on the consumer’s
 16
       computer would then result in a display of the request image on the consumer’s
 17
       browser. [01/22/18 Guinn Depo. 36:21-40:23; 09/15/17 Guinn Depo. 129:8-
 18
       22.] “[W]e want to deliver essentially what the website publisher has
 19
       published. We want to deliver that so it shows up the same way to the website
 20
       visitor. We just want to optimize the delivery.” [09/15/17 Guinn Depo. 205:3-
 21
       11.]
 22
              If the origin server storing a Cloudflare client site went down, say from a
 23
       malicious attack, for a time consumers could still request and retrieve images
 24
       from that site stored in Cloudflare’s cache. [01/22/18 Guinn Depo. 70:12-71:3;
 25
       (“for a short period of time, if a website was unavailable, we could potentially
 26
       deliver the assets from cache”).]
 27
 28

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   1         E.     Cloudflare is Not a Conduit Provider; Nor Does it System
   2                Cache for the Purpose of Delivering Material to Users of
   3                Cloudflare’s System.
   4         Cloudflare’s customers are businesses that operate web properties.
   5   [01/22/18 Guinn Depo. 57:12-20.] Cloudflare does not provide Internet or
   6   cable access to consumers. Any connections Cloudflare offers to transit
   7   information would be limited to connections between Cloudflare data centers
   8   and also between Cloudflare and some customer data centers. [09/15/17 Guinn
   9   Depo. 123:20-125:6.] If a consumer makes a request for an image on a
 10    Cloudflare customer site, the image would exit Cloudflare’s system and transit
 11    through another service provider’s conduit, for example Time Warner Cable.
 12    [09/15/17 Guinn Depo. 129:23-133:24.] “Depending on where the visitor is
 13    coming from on the internet, which is a very large and diverse network . . . the
 14    request could traverse many networks.” Id. 133:21-24.
 15          Cloudflare does not create or publish a browser for consumers. [01/22/18
 16    Guinn Depo. 60:13-23.] Cloudflare does not interact with consumers. Said
 17    Matthew Prince, Cloudflare’s CEO: “If you haven’t heard of us, I’m not
 18    surprised. We’re part of the internet’s infrastructure, one of the groups
 19    operating behind the scenes to bring you everything you enjoy online.”
 20    [Spillane Decl. ¶ 17, Ex. N.]
 21          Cloudflare modifies content that it delivers to consumers. [09/15/17
 22    Guinn Depo. 148:16-150:20.] “There are many ways in which [Cloudflare] may
 23    modify content of a site.” [09/15/17 Guinn Depo. 150:11-12.]
 24          F.     Notices of Infringing ALS Works on Subject Sites
 25          ALS has engaged Steve Easton to observe infringement of ALS works on
 26    the Internet and send notice of infringement to responsible parties. [Walsh
 27    Decl. ¶¶ 9-12; Easton Decl. passim.] Mr. Easton also represents other adult
 28

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   1   copyright owners and has the same level of knowledge regarding their content.
   2   [Easton Decl. ¶ 4.]
   3         Mr. Easton personally observed infringing copies of his clients’ works,
   4   including ALS, on the Cloudflare Customer Sites. Mr. Easton prepared a notice
   5   of infringement via email. He addressed the email to the site operator and
   6   service providers if he knew the email addresses of these parties. The email
   7   contained, in the body, hyperlinks to each and every web page on which the
   8   infringing content appeared. His intent in providing hyperlinks for each
   9   infringing work was to simultaneously disclose the work in question and also
 10    the location of the infringing copy on the Internet. Mr. Easton is familiar with,
 11    and provided the other information required by, 17 U.S.C. § 512(c). [Easton
 12    Decl. ¶¶ 4-6.]
 13          Mr. Easton observed infringing content belonging to ALS and his other
 14    clients on the Cloudflare Customer Sites. Between January 26, 2014 to June
 15    23, 2017, Mr. Easton sent email infringement notifications to Cloudflare, on
 16    behalf of ALS and others, pertaining to the following sites in the following
 17    numbers: a) artofx: 24 total, 14 ALS; b) bestofsexpics: 21 total, 14 ALS; c)
 18    cumonmy: 17 total, 17 ALS; d) fboom: 29 total, 29 ALS; e) greenpiccs: 29
 19    total, 25 ALS; f) imagetwist: 82 total, 25 ALS; g) imgchili: 1175 total, 361
 20    ALS; h) imgflash: 8 total, 8 ALS; i) imgsen.se: 20 total, 12 ALS; j) imgspice:
 21    149 total, 15 ALS; k) imgspot: 11 total, 6 ALS; l) imgtrex: 30 total, 27 ALS; m)
 22    img.yt: 147 total,; 42 ALS; n) namethatpornstar: 4 total, 4 ALS; o) slimpics: 25
 23    total, 25 ALS; p) stooorage: 11 total, 11 ALS; and q) vipergirls: 21 total, 10
 24    ALS. The grand total: 1,803 total, 645 ALS. [Easton Decl. ¶¶ 4-10; Penn Decl.
 25    ¶¶ 5-23, Exs. 1-17; Notice of Manual Filing.]
 26
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   1         Cloudflare has received additional infringement notifications from other
   2   copyright owners about the sites at issue.5 [Cloudflare Response to
   3   Interrogatory No. 22; Spillane Decl. ¶ 2, Ex. A.]
   4         While some of the content went down in response to these notices, in
   5   some cases, despite notice to Cloudflare, the infringing ALS content remains
   6   live on the Cloudflare customer site, months after Mr. Easton’s notices. [Penn
   7   Decl. ¶¶ 7, 35, 37-42, Exs. 1-3, 5, 7, 14, 26-31.]
   8         At no time in response to these notices did Mr. Easton receive a “bounce”
   9   notice indicating that Cloudflare did not receive the emails, nor did Mr. Easton
 10    receive any counter-notifications, in other words, a reply from the site operator
 11    that the content in a notice was authorized. [Easton Decl. ¶¶ 11-12.]
 12          Cloudflare has taken the litigation position that none of Mr. Easton’s
 13    notices were “valid” and therefore Cloudflare was under no burden to respond
 14    or take them into account in enforcing its (alleged) repeat infringer policy.
 15    [Cloudfare Response to Interrogatory Nos. 7 & 8 (no valid notices received
 16    regarding the at-issue websites), No. 15 (Easton notices not “valid” because he
 17    did not submit through the web page and failed to provide information required
 18    by DMCA), Spillane Decl. ¶ 12, Ex. J.]
 19          This is not what Cloudflare said at the time. Of the emails from
 20    Cloudflare to Easton, only one said that Cloudflare would not process
 21    infringement notices submitted via email. [Easton Decl. ¶ 13; Spillane Decl. ¶¶
 22    8-9, Ex. G.] Many said that to “expedite” his complaints would he “please”
 23    submit through the web form. [Id.] Others said generally that Cloudflare could
 24
 25
 26
       5
         The complaint count submitted by Cloudflare cannot include the Easton
       notifications. For most sites the number of complaints listed are fewer, in some
 27    cases many fewer, than the number sent by Easton alone. Given Cloudflare’s
 28    blunderbuss position that email notices are not “valid,” the count likely reflects
       only complaints submitted through Cloudflare’s web form.
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   1   not respond to each notice but would take “enforcement action.” [Id.] Still
   2   others responded to his email notices with information about the host and an
   3   email contact, yet declining to provide an IP address for the subject site to the
   4   copyright owner. [Id.] None of these communications said that Mr. Easton’s
   5   emails were not “valid” or would not be considered or acted upon. [Id.]
   6         Cloudflare sent some emails telling Mr. Easton that his notices lacked
   7   one or more elements required by the DMCA. However, only three pertained to
   8   the sites at issue, and only one pertained to any of the 1,803 email infringement
   9   notices submitted with this motion. [Easton Decl. ¶ 13; Spillane Decl. ¶ 10, Ex.
 10    H.] Even this one notice from Cloudflare was incorrect. [Cf. Spillane Decl. ¶
 11    10, Ex. H p.3; Spillane Decl. ¶ 11, Ex. I.]
 12          G.      Cloudflare has Failed to Adopt and Reasonably Implement a
 13                  Repeat Infringer Policy.
 14          Cloudflare has stated a nominal policy to investigate infringement
 15    complaints and terminate repeat infringers, https://www.cloudflare.com/terms/,
 16    Spillane Decl. ¶ 13, Ex. K. Cloudflare makes a passing reference to termination
 17    of service in § 11, but does not say what conduct is prohibited nor how
 18    Cloudflare would determine whether to terminate an account. Cloudflare
 19    makes the ultimate statement that it could terminate a customer for repeat
 20    infringement at § 15, yet there is no information concerning how Cloudflare
 21    would make that determination. Id.
 22          In fact Cloudflare has only terminated its customers for repeat copyright
 23    infringement upon receipt of a court order finding that customer liable for
 24    infringement. [Cloudflare Response to Interrogatory No. 10, Spillane Decl. ¶
 25    12, Ex. J.]
 26          Cloudflare can and has terminated a customer without a court order.
 27    Cloudflare terminated services to the Daily Stormer because it was a neo-Nazi
 28    site. [Spillane Decl. ¶ 17, Ex. N.] Matthew Prince made that decision because

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   1   he woke up “in a bad mood,” decided “the people behind the Daily Stormer are
   2   assholes” “and decided to kick them off the Internet.” [9/15/17 Guinn Depo.
   3   182:15-24; Spillane Decl. ¶ 18, Ex. O.] Cloudflare could also terminate
   4   services to copyright infringers, as determined by its abuse policies and by
   5   “leadership,” including Matthew Prince. [9/15/17 Guinn Depo. 196:21-198:12,
   6   202:4-9.] Cloudflare could stop or limit alleged copyright infringement by
   7   terminating services to Cloudflare customers who are infringers. [1/22/18
   8   Guinn Depo. 67:5-11.]
   9         However, despite receipt of over 1800 notices of infringement from Mr.
 10    Easton concerning the at-issue sites, and more from other copyright owners,
 11    Cloudflare has not terminated a single such site for repeat infringement.
 12    [Cloudflare Response to Interrogatory No. 7, Spillane Decl. ¶ 12, Ex. J,
 13    (“Cloudflare has not terminated any of the accounts associated with those
 14    WEBSITES”).]
 15          It appears that Cloudflare has no policy to follow up on infringement
 16    notifications to determine whether the infringing content was removed. In
 17    some cases ALS sent notification to Cloudflare of infringing ALS content on
 18    Cloudflare Customer Sites and the infringing content remains live. [Penn Decl.
 19    ¶¶ 7, 35, 37-42, Exs. 1-3, 5, 7, 14, 26-31.]
 20          During discovery Cloudflare asked why ALS did not submit notices
 21    through Cloudflare’s abuse page. ALS tried doing that, but that effort did not
 22    result in removal of the infringing content. [Penn Decl. ¶¶ 43-44, Ex. 32.]
 23          Cloudflare says some of the at-issue websites are user-upload sites,
 24    potentially entitled to protections under the DMCA. However, none have
 25    submitted the required information to the Copyright Office to maintain any safe
 26    harbors. [Spillane Decl. ¶ 14.]
 27          Cloudflare complains that it cannot ascertain whether an image is
 28    infringing, and that determination of doctrines such as fair use are best left to

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   1   “courts, or at best, lawyers highly experienced in copyright law.” [Cloudflare
   2   Expert Disclosures, Spillane Dec. ¶ 15, Ex. L.] Id. pp. 9-10. However,
   3   Cloudflare does not employee any attorneys in its Trust & Safety department,
   4   which is responsible for infringement complaints. [01/22/18 Justin Paine Depo.
   5   26:23-28:3, 39:2-18.] 6
   6         H.     Cloudflare Fails to Accommodate, and Interferes with,
   7                Standard Technical Measures.
   8         While Cloudflare has disclosed a contact email address for infringement
   9   complaints in the form submitted to the Copyright Office, Cloudflare has not
 10    published an email address on its website which copyright owners can use to
 11    submit infringement notifications via email. [Easton Decl. ¶ 14 Ex. A; Penn.
 12    Decl. ¶¶ 31-32, Exs. 24, 25.]
 13          Cloudflare has taken the position (applied inconsistently, if at all, to Mr.
 14    Easton) that it need not and will not respond to infringement complaints
 15    submitted via email. [Cloudfare Response to Interrogatory Nos. 7 & 8 (no valid
 16    notices received regarding the at-issue websites), No. 15 (Easton notices not
 17    “valid” because he did not submit through the web page and failed to provide
 18    information required by DMCA), Spillane Decl. ¶ 12, Ex. J.]
 19          Cloudflare does not forward email infringement notices from copyright
 20    owners to its customers, but rather responds to the sender redirecting his
 21    attention to the abuse form. [Penn Decl. ¶¶ 7, 35, 37-42, Exs. 1-3, 5, 7, 14, 26-
 22    31.]; 01/22/18 Paine Depo. 22:18-23:5.] Submissions via Cloudflare’s web
 23    form populate automatically into a database. [01/22/18 Paine Depo. 13:7-14:3.]
 24    However, Cloudflare would have to hire additional staff to read and process
 25    email submissions. [01/22/18 Paine Depo. 23:6-24:5.]
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        The cited pages from the Justin Paine deposition are attached to the Spillane
       Decl. as Ex. M.
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   1         Cloudflare’s web abuse form has qualities that limit the ability of
   2   copyright owners to provide notice of infringement. First, it says that only ten
   3   infringement complaints may be submitted through the form at one time.
   4   [Easton Decl. ¶ 18 Ex. B.] ALS’s DMCA agent, Steve Easton, frequently sends
   5   notification of infringement of hundreds of ALS works, which would require
   6   splitting up the notice to Cloudflare into multiple submissions through the
   7   online form. [Easton Decl. ¶¶ 17-18.] Second, Cloudflare’s abuse pages say
   8   Cloudflare will act only if the submission is “legitimate” or “valid,” terms
   9   nowhere defined on Cloudflare’s website. [Penn Decl. ¶¶ 31, 32, Exs. 24, 25.]
 10    Third, the online form seeks to intimidate copyright owners through a statement
 11    that “you understand, under 17 U.S.C. § 512(f), you may be liable for any
 12    damages, including costs and attorneys' fees, if you knowingly materially
 13    misrepresent reported material,” even though no such acknowledgement is a
 14    required element of a DMCA notification under 17 U.S.C. § 512(c)(3)(A). Id.
 15    Fourth, ALS can afford to pay Mr. Easton relatively little to send DMCA
 16    notifications on its behalf. Sending notification by email is a far more time and
 17    cost efficient method compared to having to submit notices to each provider
 18    through web forms. If Mr. Easton were required to submit notification only
 19    through web forms, ALS’s infringement notification procedures would become
 20    unaffordable and break down. [Easton Decl. ¶¶ 17-18; Walsh Decl. ¶ 10.]
 21                        SUMMARY JUDGMENT STANDARDS
 22          Summary judgment is warranted on a claim or defense, or part thereof,
 23    where “there is no genuine issue as to any material fact” and “the moving party
 24    is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court
 25    may enter summary judgment in favor of the plaintiff on its claim for relief, or
 26    on a defense, where no reasonable trier of fact could find other than for the
 27    plaintiff. Southern Calif. Gas Co. v. City of Santa Ana, 336 F.3d 885, 888 (9th
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   1   Cir. 2003) (claim for relief); Nissan Fire & Marine Ins. Co. Ltd. v. Fritz Cos.,
   2   Inc., 201 F.3d 1099, 1102 (9th Cir. 2000) (defense).
   3         Summary adjudication may be obtained on “part of each claim or
   4   defense” – “partial summary judgment.” FRCP R. 56(a). The Court has the
   5   power to grant ALS’s instant motion, one for summary judgment on liability
   6   while leaving damages to trial. Experience Hendrix LLC v.
   7   Hendrixlicensing.com Ltd., 762 F.3d 829, 833 (9th Cir. 2014) (court granted
   8   partial summary judgment on trademark infringement; damages were
   9   determined at trial); BMG Rights Mgmt. v. Cox, 149 F.Supp.3d 634, 662 (E.D.
 10    Va. 2015) (court granted partial summary judgment determining that Cox did
 11    not qualify for a safe harbor defense against copyright infringement).
 12                                      ARGUMENT
 13 I.       CLOUDFLARE IS LIABLE FOR CONTRIBUTORY COPYRIGHT
 14          INFRINGEMENT.
 15          Cloudflare has, without controversy, materially contributed to direct
 16    infringement of ALS’s exclusive rights to reproduce, distribute and display its
 17    copyrighted works. 17 U.S.C. § 106(1), (3), (5). 7
 18          “[O]ne who, with knowledge of the infringing activity, induces, causes or
 19    materially contributes to the infringing conduct of another, may be held liable
 20    as a ‘contributory’ infringer.” Fonovisa v. Cherry Auction, Inc., 76 F.3d 259
 21
 22
 23    7
         In its order of October 24, 2016, Doc. 60, the Court found that ALS had
       sufficiently averred that Cloudflare materially contributed to infringement
 24    through its content delivery network (“CDN”), by storing copies of copyrighted
 25    works on its caching servers and distributing such works to be displayed on
 26    consumers’ computer screens. Doc. 60 pp. 7-8. Also, the court found that ALS
       had sufficiently averred that Cloudflare’s domain name service (“DNS”) masks
 27    information about pirate sites and their hosts, thus hindering the ability of
 28    copyright owners to hold such parties accountable. Doc. 60 pp. 8. Here, the
       undisputed evidence backs up the averments.
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   1   (9th Cir. 1996), quoting Gershwin Publ’g Corp. v. Columbia Artists Mgmt., Inc.,
   2   443 F.2d 1159, 1162 (2d Cir. 1971). Express promotion or encouragement of
   3   infringement is not required. Rather, “providing the site and facilities for
   4   known infringing activity is sufficient to establish contributory liability.”
   5   Fonovisa, 76 F.3d at 264 (swap meet operator failed to evict vendor selling
   6   counterfeit recordings after raids and notice by law enforcement).
   7         Contributory liability exists where a service provider aids in the
   8   “reproduction, . . . display and distribution of [plaintiff’s] images over the
   9   Internet.” Perfect 10 v. Visa Intern. Service Ass’n, 494 F.3d 788, 796 (9th Cir.
 10    2007). See also Ellison v. Robertson, 357 F.3d 1072, 1078 (9th Cir. 2004) (“[A]
 11    reasonable trier of fact could conclude that AOL materially contributed to the
 12    copyright infringement by storing infringing copies of Ellison’s works on its
 13    USENET groups and providing the groups’ users with access to those copies”);
 14    Louis Vuitton Malletier, S.A. v. Akonic Solutions, Inc., 658 F.3d 936, 943 (9th
 15    Cir. 2011) (“[t]here is no question that providing direct infringers with server
 16    space” satisfies the material contribution standard); Religious Tech. Ctr. v.
 17    Netcom, 907 F.Supp. 1361, 1375 (N.D. Cal. 1995) (finding internet service
 18    provider liable for contributory infringement because the provider “‘allows [the
 19    primary infringer’s] infringing messages to remain on its system and be further
 20    distributed to other [users] worldwide.’”).
 21          In Arista Records LLC v. Tkach, 122 F.Supp.3d 32, 36 (S.D.N.Y. 2015)
 22    the court ordered Cloudflare to comply with a TRO against an infringing
 23    website, a Cloudflare customer, and all others acting in concert with such site,
 24    because Cloudflare’s DNS services enabled consumers to find the site and
 25    because Cloudflare’s CDN improved the performance of the site.
 26          Here Cloudflare had actual knowledge of infringement of ALS works on
 27    Cloudflare customer sites through numerous notifications from Steve Easton.
 28

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   1         Yet, with the right and ability to terminate services to the customers
   2   identified in Mr. Easton’s notices, Cloudflare materially contributed to the
   3   direct infringement of ALS’s exclusive rights by assisting, and continuing to
   4   assist, those sites to reproduce, distribute and display infringing copies of
   5   ALS’s copyrighted works. When a website becomes a Cloudflare customer,
   6   Cloudflare’s system causes copies of the site’s works to be made and stored on
   7   Cloudflare’s caching servers. When a consumer makes a browser query for an
   8   image residing on a Cloudflare client site, Cloudflare’s system searches for that
   9   image within its own data centers and distributes a copy of that image to the
 10    consumer’s computer from the nearest Cloudflare caching server. If the
 11    requested image is not in Cloudflare’s cache, then Cloudflare will retrieve and
 12    distribute a copy of the image from the origin server to the consumer’s
 13    computer. Once Cloudflare has distributed a copy of the requested image to the
 14    consumer’s computer, the copy so distributed is displayed on the consumer’s
 15    computer screen.
 16          Says Cloudflare: “[W]e want to deliver essentially what the website
 17    publisher has published. We want to deliver that so it shows up the same way
 18    to the website visitor. We just want to optimize the delivery.” All of this is to
 19    “increase[e] the speed at which website content is delivered to end users” and to
 20    “give[] customers fast, reliable delivery throughout the world.”
 21          Cloudflare also materially contributes to copyright infringement by
 22    making it harder to locate, if not entirely concealing, information ALS and
 23    other copyright owners need to enforce their rights and by erecting barriers to
 24    copyright owners’ ability to economically send notice of infringement. See
 25    Perfect 10, Inc v. Amazon.com, Inc, 508 F.3d 1146, 1172 (9th Cir. 2007)
 26    (‘copyright holders cannot protect their rights in a meaningful way unless they
 27    can hold providers of [internet] services or products accountable’); MGM v.
 28    Grokster, 545 U.S. 913, 929-30 (2005) (“When a widely shared service or

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   1   product is used to commit infringement, it may be impossible to enforce rights
   2   in the protected work effectively against all direct infringers.”).
   3         Says Cloudflare: “Cloud Flare will mask your IP.” When copyright
   4   owners seek information about site owners and hosts on standard whois
   5   lookups, they retrieve information about Cloudflare instead. The IP addresses
   6   listed, which hosts want to find sites on their servers, are Cloudflare IPs, not the
   7   IP of the website. Cloudflare says that copyright owners can get the IP address
   8   to hosts, but only through a multi-step run around.
   9         These actions by Cloudflare constitute material contribution to
 10    infringement.
 11    II.   CLOUDFLARE DOES NOT QUALIFY FOR SAFE HARBOR
 12          DEFENSES.
 13          The Digital Millennium Copyright Act (“DMCA”) was enacted in 1998.
 14    At the time, web “portals” ruled the Internet – AOL, Lycos, Netscape, MSN.
 15    These all-in-one services provided consumers with Internet connection,
 16    caching, storage and browsing capabilities. These operations became
 17    referenced in 17 U.S.C. §§ 512(a)-(d) respectively.
 18          Content delivery networks did not exist then. Cloudflare’s operations do
 19    not fit the language of §§ 512(a) or 512(b), the two safe harbors it claims.
 20    Cloudflare can bring a bill to Congress, but it has no defense in the DMCA as
 21    presently constituted.
 22          In the unlikely event the Court finds that Cloudflare’s operations fall
 23    within one or more safe harbors afforded in Section 512, Cloudflare
 24    nevertheless lost such safe harbors by failing to adopt and reasonably
 25    implement a repeat infringer policy and by interfering with standard technical
 26    measures. 17 U.S.C. § 512(i).
 27
 28

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   1         A.     Cloudflare Does not Qualify for Safe Harbor Protections
   2                Under 17 U.S.C. § 512(a).
   3         Cloudflare cannot show that it is entitled to a “safe harbor” under 17
   4   U.S.C. § 512(a) – the “conduit” safe harbor.
   5         Section 512(a) provides a safe harbor “for infringement of copyright by
   6   reason of the provider’s transmitting, routing, or providing connections for,
   7   material through a system or network controlled or operated by or for the
   8   service provider,” 17 U.S.C. § 512(a), provided that certain requirements are
   9   met, including that “the material is transmitted through the system or network
 10    without modification of its content.” 17 U.S.C. § 512(a)(5).
 11          “As used in [section 512](a), the term ‘service provider’ means an entity
 12    offering the transmission, routing, or providing of connections for digital
 13    online communications, between or among points specified by a user, of
 14    material of the user's choosing, without modification to the content of the
 15    material as sent or received.” 17 U.S.C. § 512(k)(1)(A).
 16          This safe harbor is only available to “service providers” as defined in
 17    Section 512(k)(1)(A) and only where the services encompass the “conduit”
 18    activities that fall within the statutory language. Columbia Pictures Industries,
 19    Inc. v. Fung, 710 F.3d 1020, 1041-42 (9th Cir. 2013).
 20          Cloudflare’s operations do not fit within the parameters of Section 512(a)
 21    for three reasons.
 22          First, Cloudflare is not being sued because copies of infringing works
 23    transit through a system or network maintained by Cloudflare. Cloudflare is
 24    being sued for contributing to the reproduction, distribution and display of
 25    infringing material from Cloudflare data centers, or in some cases the origin
 26    host, through system or networks – “conduits” – owned by third parties. In
 27    other words, a Cloudflare data center or the origin host is simply the origin
 28

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   1   point for transmission of infringing works through conduits owned and operated
   2   by third party ISPs, such as Time Warner Cable, to the user’s browser.
   3         Second, Cloudflare does not meet the definition of a service provider for
   4   purposes of Section 512(a) because its service does not enable transit of
   5   material “between or among points specified by a user” as required by Section
   6   512(k)(1)(A). In other words, a 512(a) service provider offers a “dumb”
   7   pipeline, not a smart system that determines the point from which the request
   8   content will be delivered. With Cloudlfare, a user’s browser query for a work
   9   on the origin host is redirected to a Cloudflare nameserver, which then
 10    determines whether to deliver a copy of the work from a Cloudflare data center
 11    or to proxy a copy from the origin host. Thus it is Cloudflare, not the user,
 12    which determines the point from which the requested work will be delivered.
 13    In this case Cloudflare’s services are not unlike Fung’s torrent trackers in
 14    Columbia Pictures Industries, Inc. v. Fung, supra, which did not fall within the
 15    scope of Section 512(a) because the service provider collected users into a
 16    swarm and dictated the points from which a user would download a requested
 17    work. 710 F.3d at 1041-42.
 18          Third, Cloudflare is not entitled to this safe harbor because Cloudflare
 19    does modify the content it delivers. “There are many ways in which
 20    [Cloudflare] may modify content of a site.”
 21          B.     Cloudflare Does not Qualify for Safe Harbor Protections
 22                 Under 17 U.S.C. § 512(b).
 23          The Section 512(b) safe harbor exists where a service provider caches
 24    content requested by one of its customers for later delivery to another customer
 25    of that service provider. A service provider may have a safe harbor against
 26    liability for caching material on its “system or network,” 11 U.S.C. § 512(b)(1),
 27    where the material is made available online by a website operator, 11 U.S.C. §
 28    512(b)(1)(A), requested by one consumer, 17 U.S.C. § 512(b)(1)(B), then

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   1   automatically stored in cache for delivery to another user of that service
   2   provider’s “system or network.” 17 U.S.C. § 512(b)(1)(C). In other words, a
   3   query for website material from a Google user can result in Google caching the
   4   requested information for later delivery to another Google user. See Amazon,
   5   Inc., 508 F.3d at 1156 n.3 (discussing computer and browser caching).
   6         Section 512(b) doesn’t describe a content delivery network, a service
   7   provider that didn’t exist in 1998. Consumers aren’t users of Cloudfare’s
   8   system or network. Website operators are users of Cloudflare’s system or
   9   network. As Matthew Prince said, “If you haven’t heard of us, I’m not
 10    surprised. We’re part of the internet’s infrastructure, one of the groups
 11    operating behind the scenes to bring you everything you enjoy online.”
 12          Here, a query for material on a Cloudflare customer website from a
 13    Google user will result in Cloudflare storing a copy on its caching servers for
 14    later delivery to another user of Google’s system or network, not Cloudflare’s
 15    system or network.
 16          Additionally, Cloudflare is not entitled to Section 512(b) safe harbors
 17    because Cloudflare modifies content. 17 U.S.C. § 512(b)(2)(A).
 18          Cloudflare’s remedy is to ask Congress to amend Section 512 to capture
 19    the activities of content delivery networks. However, until then, Cloudflare is
 20    not entitled to safe harbors.
 21          C.     Cloudflare is not Entitled to Safe Harbor Protections Under 17
 22                 U.S.C. § 512(i).
 23          Even if Cloudflare qualifies for safe harbor protections under either
 24    Section 512(a) or 512(b), Cloudflare has lost those safe harbor protections.
 25
                “(i) Conditions for Eligibility.—
 26
                (1) Accommodation of technology.—The limitations on liability
 27          established by this section shall apply to a service provider only if the
 28          service provider—

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   1           (A) has adopted and reasonably implemented, and informs subscribers
             and account holders of the service provider’s system or network of, a
   2         policy that provides for the termination in appropriate circumstances of
   3         subscribers and account holders of the service provider’s system or
             network who are repeat infringers; and
   4
               (B) accommodates and does not interfere with standard technical
   5         measures.”
   6   17 U.S.C. § 512(i).
   7         The requirement that service providers implement a repeat infringer
   8   policy is a “fundamental safeguard for copyright owners” and “essential to
   9   maintain[ing] the strong incentives for service providers to prevent their
 10    services from becoming safe havens or conduits for known repeat copyright
 11    infringers.” Capitol Records, Inc. v. MP3Tunes, LLC, 821 F.Supp.2d 627, 637
 12    (S.D.N.Y. 2011). In Perfect 10 v. Cybernet Ventures, 213 F.Supp.2d 1146,
 13    1178 (C.D. Cal. 2002) this Court “recognize[d] that online service providers are
 14    meant to have strong incentives to work with copyright holders. The possible
 15    loss of the safe harbor provides that incentive and furthers a regulatory scheme
 16    in which courts are meant to play a secondary role to self-regulation.”
 17          A.     Cloudflare Has Not Adopted and Informed Account Holders of
 18                 a Policy of Termination for Repeat Infringement.
 19          To qualify for safe harbors, Steadfast must have 1) “adopted” and 2)
 20    “inform[ed] . . . account holders” of a “policy” providing for “termination” of
 21    “repeat infringers.” The “inform[ation]” should be published in the ISP’s
 22    website and, where applicable, in account holder agreements. See UMG
 23    Recordings, Inc. v. Veoh Networks, Inc., 665 F.Supp.2d 1099, 1102 (C.D. Cal.
 24    2009) (“Veoh’s Terms of Use has always contained language prohibiting users
 25    from uploading videos that infringe copyrights and reserving Veoh’s right to
 26    remove videos and terminate repeat infringers”); Capitol Records, LLC v.
 27    Escape Media Group, Inc., 2015 WL 1402049 *10 (S.D.N.Y. 2015) (quoting
 28

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   1   terms explaining actions Escape may take in response to notification of
   2   infringement and process for termination of an account for repeat infringement).
   3          Here, Cloudflare has articulated an alleged “policy” to terminate repeat
   4   infringers in only the sparest ultimate terms. Cloudflare does not state any
   5   factors or considerations that would weigh on a decision to terminate services
   6   for repeat infringement. In fact, Cloudflare has simply abdicated any role in
   7   discerning what facts can or should result in terminating an account for repeat
   8   infringement. Cloudlfare has not hired legal personnel in its Trust & Safety
   9   department to make judgments Cloudflare says are difficult and require legal
 10    training. Cloudflare has effectively outsourced its repeat infringement policy to
 11    the courts, terminating services only after a court has determined for Cloudflare
 12    that a site is infringing.
 13           Alternatively, Matthew Prince could wake up in a bad mood and decide
 14    to terminate repeat infringers. Thus far he has not.
 15           This is not a “policy.” This is abdication, or perhaps caprice.
 16           B.     Cloudflare Has Not Reasonably Implemented a Policy of
 17                  Termination for Repeat Infringement.
 18           To qualify for safe harbors, an ISP must not only adopt and inform
 19    account holders of its repeat infringer policy, it must “reasonably implement[]”
 20    that policy. In other words, it must actually do what it says it will do.
 21           To comply with Section 512(i), the service provider must have a
 22    “working notification system” and “a procedure for dealing with DMCA-
 23    compliant notifications.” The provider must “not actively prevent copyright
 24    owners from collecting information needed to issue notifications.” Perfect 10,
 25    Inc. v. CCBill, LLC, 488 F.3d 1102, 1109 (9th Cir. 2007). Service providers are
 26    required to publish an email address at which they will receive infringement
 27    complaints, both on their website and also in a form required for submission to
 28    the Copyright Office. 17 U.S.C. § 512(c)(2); 37 CFR § 201.38(b)(4). In

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   1   Ellison v. Robertson, 357 F.3d 1072, 1080 (9th Cir. 2004), the jury could have
   2   concluded AOL did not qualify for safe harbors under Section 512(i) because
   3   AOL changed its email address for infringement complaints, failed to timely
   4   notify the Copyright Office of the change and failed to implement a system to
   5   forward emails sent to the old address.
   6           Cloudflare fails under these measures. It did not publish an email
   7   address for infringement complaints on its website. While Cloudflare supplied
   8   an email address on its submission to the Copyright Office, it at least
   9   discouraged copyright owners from using that address, if not outright told them
 10    it would not process email notifications. Cloudflare has adopted the litigation
 11    position that none of Mr. Easton’s 1800+ email notifications were “valid”
 12    because they were not submitted through its abuse form, a more tedious venue
 13    for submitting infringement complaints. Cloudflare appears not to have
 14    processed the Easton emails, as when an infringement complaint is sent to
 15    Cloudflare only, the infringing content remains live. Cloudflare blocks
 16    copyright owners from collecting information needed to issue notifications
 17    throught its DNS system.
 18            Cloudflare has also lost safe harbor protections by receiving numerous
 19    notifications of infringement on its customers’ sites without terminating a single
 20    account.
 21            Assessing a party’s eligibility for safe harbors under Section 512(i)
 22    involves an assessment of that party’s actions with respect to copyright holders
 23    not party to the litigation because the court must assess implementation of a
 24    “policy,” not merely treatment of a particular copyright holder. 488 F.3d at
 25    1113.
 26            “To implement the repeat infringer policy contemplated by § 512(i), the
 27    penalty imposed by service providers must be termination.” BMG Rights
 28    Mgmt., supra, 149 F.Supp.3d at 658. In that case BMG owned a catalog of

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   1   musical compositions. Cox provided high-speed Internet services to users who
   2   allegedly used those services to access file sharing sites with infringing copies
   3   of BMG’s works. The court rejected Cox’s defense that it needed terminate
   4   only adjudicated infringers, holding that Cox had a burden to implement a
   5   repeat infringer policy where it had knowledge of infringement. 149 F.Supp.3d
   6   at 654, 661. Cox mouthed procedures to impose graduated responses to
   7   infringement but in fact terminated almost no customers. 149 F.Supp.3d at 658-
   8   59. Cox received fourteen notices of infringement on certain accounts within a
   9   six month period, yet failed to terminate those accounts. 149 F.Supp.3d at 661-
 10    62. Cox lost its safe harbors due to failure to reasonably implement a policy for
 11    termination of repeat infringers. 149 F.Supp.3d at 662. See also Disney
 12    Enterprises, Inc. v. Hotfile Corp., 1:11-cv-20427-KMW, 2013 WL 6336286
 13    (S.D. Fla. Sept. 20, 2013) (Hotfile terminated few accounts despite receipt of
 14    millions of infringement notices; Hotfile terminated users only on threat of
 15    litigation or receipt of court order; Hotfile was “unable to point to a single
 16    specific user who was terminated pursuant to its policy of manual review and
 17    exercise of ‘discretion’”)
 18          Here, Cloudflare has receive thousands of complaints abouot the subjec
 19    sites. In combination Cloudflare has received more – for most sites many more
 20    – than fourteen notices for the sites in question, the number at which Cox
 21    should have terminated services to its customers. Yet, Cloudflare terminated
 22    services to none of these sites. Like Cox and Hotfile, Cloudflare failed to
 23    exercise any discretion to terminate services. The intention of 512(i) is to
 24    require copyright owners and service providers to mediate infringement
 25    complaints through voluntary enforcement of a repeat infringer policy without
 26    court intervention. Instead, Cloudflare refused to terminate for repeat
 27    infringement except upon receipt of a court order. Cloudflare has not
 28    terminated services even under the threat, or here the actuality, of litigation.

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   1         Cloudflare claims some sites in question are themselves service providers
   2   entitled to safe harbors. If so Cloudflare was not absolved from terminating
   3   those accounts. Congress did not limit the sweep of Section 512(i) to
   4   termination of repeat direct infringers. Allowing service providers to abdicate
   5   responsibility for terminating accounts of other service providers would
   6   undermine incentivizes for service providers to work with copyright owners to
   7   combat infringement. Cybernet, supra. Plus, these sites lost any safe harbors
   8   by failing to register with the Copyright Office. 17 U.S.C. § 512(c)(2).
   9         C.      Cloudflare Fails to Accommodate, and Interferes With,
 10                  Standard Technical Measures.
 11          Cloudflare’s DNS service blocks information copyright owners need to
 12    hold site owners and hosts responsible. Cloudflare does not publish email
 13    contacts on its website and dissuades, if not bars, copyright owners from
 14    submitting information via email. Cloudflare insists that copyright owners
 15    submit infringement notifications only through web abuse forms, a more
 16    tedious and time consuming method. Cloudflare therefore fails to
 17    accommodate, and interferes with, standard technical measures. 17 U.S.C. §
 18    512(i)(1)(B).
 19                                     CONCLUSION
 20          ALS’s motion for partial summary judgment against Cloudflare should
 21    be granted.
 22
 23    DATED: January 30, 2018                SPILLANE LAW GROUP PLC
                                              GALLAGHER & KENNEDY, P.A.
 24
 25
 26
                                              By: _____________________________
 27                                                       Jay M. Spillane
                                              Attorneys for Plaintiff ALS Scan, Inc.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
ITS MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANT
CLOUDFLARE, INC. will be served or was served (a) on the judge in chambers in the form and manner required
by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 30, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 30, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 30, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/30/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
